   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                       Filed 06/24/20   Page 1 of 31




UNITED STATES COURT OF INTERNATIONAL TRADE
-------------------------------------------------------------------- X
MAPLE LEAF MARKETING, INC.                                            :
                                                                      :
                 Plaintiff,                                           :
                                                                      :
                 v.                                                   :
                                                                      :
THE UNITED STATES,                                                    :
                                                                      :
DONALD J. TRUMP,                                                      :
President of the United States,                                       :
                                                                      :
ROBERT E. LIGHTHIZER,                                                 :
                                                                          Case No. 20-cv-00125
U.S. Trade Representative,                                            :
                                                                      :
WILBUR L. ROSS                                                        :
Secretary, U.S. Department of Commerce,                               :
                                                                      :
                 and                                                  :
                                                                      :
MARK A. MORGAN                                                        :
Acting Commissioner, U.S. Customs and Border                          :
Protection,                                                           :
                                                                      :
                 Defendants.                                          :
-------------------------------------------------------------------- X

                                            COMPLAINT

        Plaintiff, MAPLE LEAF MARKETING, INC., by and through its undersigned counsel, for

its Complaint in this matter against Defendant, the UNITED STATES OF AMERICA,

DONALD J. TRUMP, ROBERT E. LIGHTHIZER, WILBUR L. ROSS, AND MARK A.

MORGAN, does hereby state, plead, and allege as follows:


                                        CAUSE OF ACTION

        1.      This action challenges as unlawful the assessment of additional duties upon

Plaintiff’s imported steel products, under claimed authority of Section 232 of the Trade Expansion

Act of 1962, as amended, 19 U.S.C. § 1862 (“Section 232”). The unlawful additional Section 232
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 2 of 31




tariffs were untimely imposed on imports of steel from Canada pursuant to Presidential

Proclamations issued by Defendant Trump, which were adopted and enforced by Defendant

Lighthizer and Defendant Morgan. The additional Section 232 tariffs untimely imposed on imports

of steel from Canada are also unconstitutional because they violate the Fifth Amendment’s due

process clause.

       2.         This action also challenges the final agency actions of Defendant Ross, Secretary

of the U.S. Department of Commerce, through its constituent, Bureau of Industry and Security

(“BIS”), which denied Plaintiff’s applications for exclusion from the Section 232 duties. See BIS

Decision Documents regarding Exclusion Request Nos. 11927, and 11928 on June 7, 2020, Compl.

Ex. A. BIS’ denials are contrary to the interim final regulation, see Requirements for Submissions

Requesting Exclusions from the Remedies Instituted in Presidential Proclamations Adjusting

Imports of Steel Into the United States and Adjusting Imports of Aluminum Into the United States;

and the Filing of Objections to Submitted Exclusion Requests for Steel and Aluminum, 83 Fed.

Reg. 12,106 (March 19, 2018) (“Interim Final Rule”), and are arbitrary and capricious, and

constitute an abuse of discretion, in contravention of the provisions of the Administrative

Procedure Act (“APA”), 5 U.S.C. § 706(1).

       3.         This action also challenges the assessment of Section 232 duties on U.S. re-

importations of goods eligible for entry under subheading 9802.00.50, HTSUS. The imposition of

Section 232 duties on goods secondarily classified under subheading 9802.00.50, HTSUS,

conflicts with the language of the tariff, the language of U.S. Note 3, the North American Free

Trade Agreement (“NAFTA”), CBP regulations, 19 C.F.R. § 181.64, the language of the

Proclamation 9705, of March 8, 2018, and Proclamation 9759 of May 31, 2018, and with the US

Notes to Subchapter III of Chapter 99, HTSUS. Section 232 duties imposed on Plaintiff’s re-
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 3 of 31




imported goods of subheading 9802.00.50, HTSUS, are not in accordance with the law, in

contravention of the APA, 5 U.S.C. § 706(1). The additional Section 232 tariffs untimely imposed

on Chapter 98 goods are also unconstitutional because they violate the Fifth Amendment’s due

process clause.

       4.         This action also challenges a report of the Secretary of the U.S. Department of

Commerce under Section 232, which was received by the President on January 11, 2018 (the

“Commerce Report”), which is in excess of statutory jurisdiction, authority or limitations under

Section 232 insofar as it failed to abide by mandatory requirements of Section 232, namely the

requirement of publication in the Federal Register, see 19 U.S.C. § 1862(b)(3)(B), and therefore

is not in accordance with law, in violation of the APA.

       5.         This action also seeks a declaratory judgment that Section 232 is unconstitutional

as an improper delegation of legislative power to the President, in violation of Article I, Section 1

of the Constitution and the doctrine of separation of powers and the system of checks and balances

the Constitution protects.


                                          JURISDICTION

       6.         Plaintiffs’ cause of action arises under Section 232 of the Trade Expansion Act of

1962, as amended, 19 U.S.C. § 1862, a law of the U.S. “providing for … tariffs, duties, fees, or

other taxes on the importation of merchandise for reasons other than the raising of revenue,” as

well as for “administration and enforcement with respect to” such tariffs, duties and fees, see 19

U.S.C. §§ 1581(i)(2) and (4), under which tariffs have been untimely and unlawfully imposed.

This Court has jurisdiction over this action under 28 U.S.C. § 1581(i)(2) and (4).
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                  Filed 06/24/20    Page 4 of 31




       7.      Plaintiff’s cause of action also arises under the Administrative Procedure Act, 5

U.S.C. § 551 et seq., and is cognizable under 28 U.S.C. § 1581(i)(2) and (4), to the extent it

challenges:

                  a. the untimely imposition of Section 232 duties on imports of steel from

                      Canada in contravention of the statutory limitations imposed by

                      Section 232, 19 U.S.C. 1862(c).

                  b. BIS Decision Documents denying Plaintiff’s applications for exclusion

                      from Section 232 tariffs as arbitrary and capricious, and an abuse of

                      discretion;

                  c. the assessment of Section 232 duties on steel imports which are classifiable

                      under subheading 9802.00.50, HTSUS, as arbitrary and capricious, an abuse

                      of discretion, and not in accordance with the law;

                  d. the Commerce Report, which is in excess of statutory jurisdiction, authority

                      or limitations under Section 232 insofar as it fails to abide by mandatory

                      requirements of Section 232, namely the requirements of publication in the

                      Federal Register, see 19 U.S.C. § 1862(b)(3)(B), and therefore is not in

                      accordance with law;

       8.      Plaintiff’s cause of action also challenges as unconstitutional the untimely

imposition of Section 232 duties on imports of steel from Canada under 19 U.S.C. § 1862(c), as

well as the untimely and unlawful imposition of Section 232 duties on goods of Chapter 98, thereby

depriving Plaintiff of property without due process of law.

       9.      Plaintiff’s cause of action also challenges as unconstitutional the delegation of

authority from Congress to the Executive Branch in Section 232 which lacks an intelligible
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 5 of 31




principle by which the Executive is to Act, violating the delegation doctrine. The additional

Section 232 duties imposed and collected on Plaintiff’s imports of steel are an unlawful exercise

of legislative authority and are void ab initio.

        10.     Plaintiff’s claims are not cognizable under any other subsection of 28 U.S.C.

§ 1581.


                                             PARTIES

        11.     Plaintiff Maple Leaf Marketing, Inc. (“MLM”) is a corporation organized and

existing under the laws of the State of Texas, with its principal place of business at 401 West Texas

Ave., Suite 917, Midland, Texas 79701. MLM is the exclusive importer of EndurAlloy™

boronized J-55 steel tubing, which is used by the oil and gas industry. MLM is the real party in

interest in this action.

        12.     Defendant the United States of America is the federal Defendant to which Plaintiff

paid the additional 25% Section 232 tariffs on its steel imports and is the statutory defendant under

28 U.S.C. § 1581(i)(2) and (4).

        13.     Defendant, Donald J. Trump, is the President of the United States who, after

receiving recommendations from the U.S. Department of Commerce, purported to impose tariffs

and other import restrictions on imported steel products that are the basis of this action.

        14.     Defendant, Wilbur L. Ross, is the Secretary of the U.S. Department of Commerce

(the “Department” or “Commerce”), who directly supervised the Commerce Report at issue in this

case which recommended the imposition of tariffs and other import restrictions on imported steel

products, and who directly oversees the Department and BIS’ Section 232 exclusion process.

        15.     Defendant, Robert E. Lighthizer, is the U.S. Trade Representative, who is

responsible for inter alia publishing Subchapter III of Chapter 99, HTSUS.
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                     Filed 06/24/20      Page 6 of 31




        16.    Defendant, Mark A. Morgan, is the Acting Commissioner of U.S. Customs and

Border Protection (“Customs” or “CBP”), which is charged with assessment and collection of

Customs duties and fees and which administers and enforces the trade restrictions challenged in

this action.

                                            STANDING

        17.    Plaintiff has standing to bring this action pursuant to 28 U.S.C. § 2631(i), which

states that “[a]ny civil action of which the Court of International Trade has jurisdiction, other than

an action specified in subsections (a) – (h), may be commenced in the court by any person

adversely affected or aggrieved by agency action within the meaning of section 702 of title 5.”

        18.    Plaintiff’s action arises under Section 232, 19 U.S.C. § 1862, as the Defendants

have acted beyond statutory authority, the Constitution of the United States, and Section 702 of

the APA, 5 U.S.C. § 702. Section 702 states that “[a] person suffering legal wrong because of

agency action, or adversely affected or aggrieved by agency action within the meaning of a relevant

statute, is entitled to judicial review thereof.” In an action under Section 702, “the reviewing court

shall … (2) hold unlawful and set aside agency action, findings, and conclusions found to be – (A)

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law … [and] (C)

in excess of statutory jurisdiction, authority, or limitations, or short of statutory right … ” 5 U.S.C.

§§ 706(2)(A), (C).

        19.    Plaintiff has suffered injury in fact by reason of Defendants’ unlawful actions, and

has standing to bring this action as a “person” adversely affected or aggrieved by agency action—

in this instance the imposition of additional Section 232 tariffs on Plaintiff’s steel imports, the

denial of applications for exclusion therefrom, and the assessment of additional tariffs on re-

imported goods eligible for classification under subheading 9802.00.50, HTSUS—within the
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                     Filed 06/24/20     Page 7 of 31




meaning of 5 U.S.C. § 702. Plaintiff is in the zone of interests to be protected or regulated by the

statute or constitutional guarantees in question, and it is suffering injury caused by the unlawful

imposition of Section 232 tariffs on its imported steel products.


                                           TIMELINESS

       20.     An action under 28 U.S.C. § 1581(i) must be commenced within two years after

the cause of action first accrues. 28 U.S.C. § 2636(i).

       21.     Plaintiff has commenced this action by concurrently filing a summons and

complaint within two years after the cause of action first accrued. The claims asserted by Plaintiff

first accrued at the earliest on June 25, 2018—i.e., the date of Plaintiff’s first importation of steel

products assessed with additional Section 232 duties of 25%. This action is therefore timely filed

under 28 U.S.C. § 2636(i).


                                    STATEMENT OF FACTS

SECTION 232 PROCESS

       22.     Within 270 days of initiating an investigation under Section 232, the Secretary of

Commerce is required to submit a report to the President of his/her findings on whether a particular

article of commerce is being imported into the U.S. in such quantities or under such circumstances

as to threaten to impair the national security. 19 U.S.C. § 1862(b)(3)(A).

       23.     The term “national security” is not defined in the statute.

       24.     Section 232 requires that “[a]ny portion of the report submitted by the Secretary

under subparagraph (A) which does not contain classified information or proprietary information

shall be published in the Federal Register.” 19 U.S.C. § 1862(b)(3)(B).

       25.     Under Section 232(c), the President has 90 days after receiving the Secretary’s

Report, to determine whether to concur with the findings of the Secretary. If the President
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                     Filed 06/24/20      Page 8 of 31




determines to take actions under Section 232, the President must “determine the nature and

duration of the action that, in the judgment of the President, must be taken to adjust the imports of

the article,” 19 U.S.C. § 1862(c)(1)(A)(ii), within 90 days after receipt of the Secretary of

Commerce’s report and recommendations. Thereafter, the President “shall implement that action

by no later than the date that is 15 days after the day on which the President determines to take

action.” Id. § 1862(c)(1)(B). Accordingly, any actions to adjust imports must be imposed no later

than 105 days after receiving the Secretary’s report.

        26.     The statute only authorizes the President to take actions that seek to “adjust the

imports of the article and its derivatives so that such imports will not threaten to impair the national

security.” 19 U.S.C. § 1862(c)(1)(A)(ii) (emphasis added); see also, id. § 1862(c)(1)(B) (“ … take

action to adjust imports … ”) (emphasis added); id. § 1862(c)(3)(ii) (“the President shall take such

other actions as the President deems necessary to adjust the imports of such article so that such

imports will not threaten to impair the national security.”) (emphasis added).

        27.     If the President determines that “the action taken” is “the negotiation of an

agreement” to limit imports into the U.S., and no agreement is made within 180 days after the date

on which the determination to negotiate is made, “the President shall take such other actions as the

President deems necessary to adjust the imports” of the article. Id. at § 1862(c)(3)(ii).

        28.     If the President determines that “the action taken” is “the negotiation of an

agreement” to limit imports into the U.S., the President may not take any action to “adjust imports”

until at least 180 days have elapsed from the date on which the determination to commence

negotiations is made. Id. at § 1862(c)(3)(ii).
   Case 1:20-cv-00125-CRK-GSK-JAR Document 5                  Filed 06/24/20     Page 9 of 31




SECTION 232 STEEL INVESTIGATION

       29.     On April 20, 2017, the Secretary initiated an investigation under Section 232

regarding certain steel imports at the direction of Defendant Trump. The investigation was

announced in a notice published in the Federal Register. See 82 Fed. Reg.19205 (April 26, 2017).

       30.     The Commerce Report relating to the steel investigation was received by the

President on January 11, 2018. See Proclamation 9705 of March 8, 2018.

       31.     The Commerce Report was not published in the Federal Register as required by 19

U.S.C. § 1862(b)(3)(B).

       32.     The Report provides the sole authority for the President to take actions to “adjust

the imports of the article and its derivatives so that such imports will not threaten to impair the

national security.” 19 U.S.C. § 1862(c)(1)(A)(ii) (emphasis added).


PRESIDENTIAL PROCLAMATIONS INVOLVING STEEL

       33.     On March 8, 2018, President Donald J. Trump imposed 25% ad valorem duties on

imports of certain steel products into the U.S. from all countries except Canada and Mexico, under

claimed authority of Section 232, with an effective date of March 23, 2018. See Proclamation 9705

of March 8, 2018, Adjusting Imports of Steel Into the United States, 83 Fed. Reg. 11,625 (March

15, 2018) (“Proclamation 9705”).

       34.     Proclamation 9705 notes the existence of “special circumstances with respect to

Canada and Mexico,” id. at ¶ 8, and stating further that:

       I have determined that the necessary and appropriate means to address the threat to
       the national security posed by imports of steel articles from Canada and Mexico is
       to continue ongoing discussions with these countries and to exempt steel articles
       imports from these countries from the tariff, at least at this time. I expect that
       Canada and Mexico will take action to prevent transshipment of steel articles
       through Canada and Mexico to the United States.
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                      Filed 06/24/20     Page 10 of 31




Id. ¶ 10 (emphasis added). This language exempting steel articles imports from Canada serves to

commence the 180-day negotiation period mandated by 19 U.S.C. § 1862(3)(A), which provides:

       (A) If—

             (i) the action taken by the President under paragraph (1) is the negotiation of an
             agreement which limits or restricts the importation into, or the exportation to,
             the United States of the article that threatens to impair national security, and

             (ii) either—

                (I) no such agreement is entered into before the date that is 180 days after
                the date on which the President makes the determination under paragraph
                (1)(A) to take such action, or

                (II) such an agreement that has been entered into is not being carried out or
                is ineffective in eliminating the threat to the national security posed by
                imports of such article,

             the President shall take such other actions as the President deems necessary to
             adjust the imports of such article so that such imports will not threaten to impair
             the national security. The President shall publish in the Federal Register notice
             of any additional actions being taken under this section by reason of this
             subparagraph.

(Emphasis added). Defendant Trump exempted imports of steel from Canada while continuing

“ongoing discussions” (i.e., to negotiate an agreement pursuant to 19 U.S.C. § 1862(3)(A)), and

therefore, no actions “to adjust imports” could be taken against Canada or Mexico before

September 4, 2018.

       35.      In the Annex to Proclamation 9705, the President identified the steel products

subject to the additional duty by description and by Harmonized Tariff Schedule of the United

States (“HTSUS”) heading and subheading numbers, providing:

       The rates of duty set forth in heading 9903.80.01 apply to all imported products of
       iron or steel classifiable in the provisions enumerated in this subdivision:

                (i) flat-rolled products provided for in headings 7208, 7209, 7210, 7211,
                7212, 7225 or 7226;
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 11 of 31




                (ii) bars and rods provided for in headings 7213, 7214, 7215, 7227, or 7228,
                angles, shapes and sections of7216 (except subheadings 7216.61.00,
                7216.69.00 or 7216.91.00); wire provided for in headings 7217 or 7229;
                sheet piling provided for in subheading 7301.1 0.00; rails provided for in
                subheading 7302.1 0; fish-plates and sole plates provided for in subheading
                7302.40.00; and other products of iron or steel provided for in subheading
                7302.90.00;

                (iii) tubes, pipes and hollow profiles provided for in heading 7304, or 7306;
                tubes and pipes provided for in heading 7305.

                (iv) ingots, other primary forms and semi-finished products provided for in
                heading 7206, 7207 or 7224; and

                (v) products of stainless steel provided for in heading 7218, 7219,7220,
                7221, 7222 or 7223.

See Proclamation 9705, Annex To Modify Chapter 99 of the [HTSUS], Note 16(b) (emphasis

added). Neither Proclamation 9705, nor the Annex thereto, identifies re-imported goods

classifiable under subheading 9802.00.50, HTSUS, as being subject to additional Section 232

duties.

          36.   On March 22, 2018, Defendant Trump issued Proclamation 9711, which modified

Proclamation 9705 and continued exempting “at this time” imports of steel articles from, inter

alia, Canada from any import adjustment measures, pending negotiations pursuant to 19 U.S.C.

§ 1862(3)(A) “on satisfactory alternative means to address the threatened impairment to the

national security by imports of steel articles from those countries.” See Proclamation 9711 of

March 22, 2018, Adjusting Imports of Steel Into the United States, 83 Fed. Reg. 13,361 (March

28, 2018) (“Proclamation 9711”).

          37.   On April 30, 2018, Defendant Trump issued Proclamation 9740, which, inter alia,

modified the previous Proclamations to inter alia continue the exemption for imports of steel from

Canada pending negotiations pursuant to 19 U.S.C. § 1862(3)(A). See Proclamation 9740 of April
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                     Filed 06/24/20      Page 12 of 31




30, 2018, Adjusting Imports of Steel Into the United States, 83 Fed. Reg. 20,683 (May 7, 2018)

(“Proclamation 9740”).

       38.      On May 31, 2018, less than “180 days after the date on which the President ma[de]

the determination” to negotiate an “agreement which limits or restricts the importation into, or the

exportation to, the United States of the article that threatens to impair national security,” 19 U.S.C.

§ 1862(3)(A), Defendant Trump purported to impose 25% tariffs on steel articles imported into

the U.S. from Canada in Proclamation 9759. See Proclamation 9759 of May 31, 2018, Adjusting

Imports of Steel Into the United States, 83 Fed. Reg. 25,857 (June 5, 2018) (“Proclamation 9759”).

       39.      Proclamation 9759 was issued more than 90 days after Defendant Trump received

the Commerce Report on January 11, 2018, 19 U.S.C. § 1862(c)(1)(A), and more than 15 days

after Defendant Trump determined to take action to adjust imports on March 8, 2018. Id.

§ 1862(c)(B).

       40.      Defendant Trump issued Proclamation 9759, which, inter alia, modified the

previous Steel Proclamations to inter alia impose 25% tariffs on imports of steel articles from

Canada, effective for goods imported on and after June 1, 2018.

       41.      On May 19, 2019, Defendant Trump issued Proclamation 9894, which terminated

the tariffs on steel imports from Canada and Mexico, effective May 23, 2019, and which provided:

        … imports of steel articles from Canada and Mexico will no longer threaten to
       impair the national security, and thus I have decided to exclude Canada and Mexico
       from the tariff proclaimed in Proclamation 9705, as amended.

See Proclamation 9894, 84 Fed. Reg. 12,988 (May 23, 2019) (“Proclamation 9894”).

       42.      The President based authority to issue the Section 232 Steel Proclamations on the

authority of Section 232 and the Commerce Report. No other legal authority exists, or was claimed,

for these Steel Proclamations.
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20       Page 13 of 31




SECTION 232 EXCLUSION PROCESS

       43.     According to Proclamation 9705 of March 8, 2018, the Secretary of Commerce

recommended to the President that he be permitted “in response to specific requests from affected

domestic parties, to exclude from any adopted import restrictions those steel articles for which the

Secretary determines there is a lack of sufficient U.S. production capacity of comparable products,

or to exclude steel articles from such restrictions … ” Id. ¶ 4 (emphasis added).

       44.     In Proclamation 9705, the President ordered that:

       The Secretary, in consultation with the Secretary of State, the Secretary of the
       Treasury, the Secretary of Defense, the United States Trade Representative
       (USTR), the Assistant to the President for National Security Affairs, the Assistant
       to the President for Economic Policy, and such other senior Executive Branch
       officials as the Secretary deems appropriate, is hereby authorized to provide relief
       from the additional duties set forth in clause 2 of this proclamation for any steel
       article determined not to be produced in the United States in a sufficient and
       reasonably available amount or of a satisfactory quality and is also authorized to
       provide such relief based upon specific national security considerations. Such relief
       shall be provided for a steel article only after a request for exclusion is made by a
       directly affected party located in the United States. If the Secretary determines that
       a particular steel article should be excluded, the Secretary shall, upon publishing a
       notice of such determination in the Federal Register, notify Customs and Border
       Protection (CBP) of the Department of Homeland Security concerning such article
       so that it will be excluded from the duties described in clause 2 of this proclamation.
       The Secretary shall consult with CBP to determine whether the HTSUS provisions
       created by the Annex to this proclamation should be modified in order to ensure the
       proper administration of such exclusion, and, if so, shall make such modification to
       the HTSUS through a notice in the Federal Register.

Proclamation 9705, ¶ 3 (emphasis added).

       45.     The Department then published an interim final rule establishing a process for

affected domestic parties to submit requests for exclusions. See Requirements for Submissions

Requesting Exclusions From the Remedies Instituted in Presidential Proclamations Adjusting

Imports of Steel Into the United States and Adjusting Imports of Aluminum Into the United States;
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 14 of 31




and the Filing of Objections to Submitted Exclusion Requests for Steel and Aluminum, 83 Fed.

Reg. 12,106 (March 19, 2018) (“Interim Final Rule”).

       46.      The Department has explained that the purpose of the exclusion process is:

       [T]o protect downstream manufacturers that rely on products not produced by U.S.
       domestic industry at this time. The guiding principle is that, if U.S. domestic
       industry does not or will not produce a given steel or aluminum product of the
       quality needed by users in the United States, companies that rely on those products
       will not pay duties on them.

Submissions of Exclusion Requests and Objections to Submitted Requests for Steel and Aluminum,

83 Fed. Reg. 46,026, 46,038–39 (Sept. 11, 2018) (emphasis added).


MAPLE LEAF MARKETING, INC. IMPORT ENTRIES

       47.      Plaintiff MLM is the exclusive U.S. importer and distributor of a specially hardened

and boronized J-55 steel tubing product known as EndurAlloy™, which is used in the U.S. oil and

gas industry.

       48.      EndurAlloy™ is the end-product of a specialized chemical deposition alteration

treatment performed exclusively by Endurance Technologies Inc. (“ETI”), in Alberta, Canada.

ETI sources Range 2 (28’ – 32’) API 5CT J-55 steel tubing from U.S. vendors who export the steel

to Canada where ETI performs its proprietary EndurAlloy™ chemical deposition alteration

treatment of ERW and seamless tubing, which results in a steel tubing product with significantly

improved hardness and technical advantages.

       49.      The EndurAlloy™ process provides exceptional protection against rotating or

stroking rod wear, erosion caused by abrasive fluids, corrosion, and other factors that cause

premature tubing failures in challenging drilling environments. Other advantages include reduced

tubing failures, workover, well servicing, and maintenance costs to the oil well operator. Compared

with standard J-55 tubing, EndurAlloy™ tubing increases the run time of standard J-55 tubes in
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 15 of 31




severely corrosive environments; increases the pumpability due to reduced coefficient of friction;

increases material compatibility; and resultantly, provides an increased revenue stream to the oil

well operator.

          50.    The availability of EndurAlloy™ J-55 ERW or seamless tubing in the U.S. market

cannot be determined by analyzing the availability of standard J-55 ERW or seamless tubing. As

compared to standard J-55 tubing, EndurAlloy™ tubing has greater hardness, corrosion resistance,

and environmental protection by virtue of a microns-thin layer of boron that is vacuum-deposited

into the inner diameter of the J-55 tubing by virtue of ETI’s Canadian processing. EndurAlloy™

lasts up to four times longer than, and costs roughly four times as much as, standard J-55 ERW or

seamless tubing.

          51.    The imported EndurAlloy™ steel tubing was primarily classified upon entry under

subheadings of 7304 and 7306, HTSUS, which are regularly duty free.

          52.    Section 232 duties of 25-percent ad valorem were imposed on steel goods of

subheadings 7304, HTSUS, and 7306, HTSUS, imported from Canada between June 1, 2018 and

May 19, 2019. See, Proclamation 9705, 83 Fed. Reg. 11,625 (March 15, 2018); Proclamation 9759,

83 Fed. Reg. 25,857 (June 5, 2018); Proclamation 9894, 84 Fed. Reg. 12,988 (May 23, 2019).

          53.    Plaintiff asserted the imported steel qualifies for treatment under subheading

9802.00.50, HTSUS, as goods subject to repair and alteration treatments abroad.

          54.    Goods secondarily classified under subheading 9802.0050, HTSUS, when returned

to the U.S., are ordinarily subject to “a duty upon the value of the repairs or alterations (see U.S.

Note 3 of this subchapter).” See Subheading 9802.00.50, HTSUS. U.S. Note 3 provides (emphasis

added):
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20      Page 16 of 31




       3. Articles repaired, altered, processed or otherwise changed in condition abroad.--
       The following provisions apply only to subheadings 9802.00.40 through
       9802.00.60, inclusive:

               (a) The value of repairs, alterations, processing or other change in condition
               outside the United States shall be:

                     (i) The cost to the importer of such change; or

                     (ii) If no charge is made, the value of such change,

               as set out in the invoice and entry papers; except that, if the appraiser
               concludes that the amount so set out does not represent a reasonable cost or
               value, then the value of the change shall be determined in accordance with
               section 402 of the Tariff Act of 1930, as amended.

                                         *           *           *

               (d) For the purposes of subheadings 9802.00.40 and 9802.00.50, the rates
               of duty in the "Special" subcolumn of column 1 followed by the symbol
               "CA" or "MX" in parentheses shall apply to any goods which are returned
               to the United States after having been repaired or altered in Canada or in
               Mexico, respectively, whether or not such goods are goods of Canada or
               goods of Mexico under the terms of general note 12 to the tariff schedule.

                                         *           *           *

       55.     The regulatory criteria that must be satisfied to qualify for repair and alteration

treatment, when goods are sent to a NAFTA country, are set out in Section 181.64 of the CBP

Regulations, which provides, in relevant part:

       a) General. This section sets forth the rules which apply for purposes of obtaining
          duty-free or reduced-duty treatment on goods returned after repair or alteration
          in Canada or Mexico as provided for in subheadings 9802.00.40 and
          9802.00.50, HTSUS. Goods returned after having been repaired or altered in
          Mexico, whether or not pursuant to a warranty, and goods returned after having
          been repaired or altered in Canada pursuant to a warranty, are eligible for duty-
          free treatment, provided that the requirements of this section are met. Goods
          returned after having been repaired or altered in Canada other than pursuant to
          a warranty are subject to duty upon the value of the repairs or alterations using
          the applicable duty rate under the United States-Canada Free-Trade Agreement
          (see § 10.301 of this chapter), provided that the requirements of this section are
          met. For purposes of this section, “repairs or alterations” means restoration,
          addition, renovation, redyeing, cleaning, resterilizing, or other treatment which
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                         Filed 06/24/20   Page 17 of 31




              does not destroy the essential characteristics of, or create a new or commercially
              different good from, the good exported from the United States.

                                        *           *           *

       b) Goods not eligible for duty-free or reduced-duty treatment after repair or
          alteration. The duty-free or reduced-duty treatment referred to in paragraph (a)
          of this section shall not apply to goods which, in their condition as exported
          from the United States to Canada or Mexico, are incomplete for their intended
          use and for which the processing operation performed in Canada or Mexico
          constitutes an operation that is performed as a matter of course in the
          preparation or manufacture of finished goods.

       56.       Accordingly, for an article to be considered “repaired or altered” under subheading

9802.00.50, HTSUS, and the corresponding regulation, 19 C.F.R. § 181.64, the following elements

must be satisfied:

       (i)       The article must be a finished good, complete for its intended use before exportation
                 from the United States.

       (ii)      While abroad, the article may be subject to “any process of manufacture or other
                 means” including restoration, addition, renovation, redyeing, cleaning,
                 resterilizing, or other treatments.

       (iii)     The operations performed abroad must not destroy the essential characteristics of,
                 or create a new or commercially different good from, the good exported from the
                 United States.

       57.       The EndurAlloy™ steel tubing products exported to Canada for processing by ETI

were finished goods at the time of their exportation from the U.S.—i.e., J-55 steel tubing—and

were complete for their intended use—i.e., as oil country tubular goods (“OCTG”).

       58.       While in Canada, the U.S.-exported J-55 steel tubing underwent permissible

alterations (i.e., “any process of manufacture or other means,” see subheading 9802.00.50,

HTSUS), that did not destroy the essential characteristics of, or create a new or commercially

different good from, the re-imported EndurAlloy™ J-55 steel tubing re-imported into the U.S..

The re-imported EndurAlloy™ tubing remains identifiable as the same J-55 steel tubing that was

previously exported; it retains all essential characteristics that make it susceptible for use as OCTG.
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 18 of 31




The Canadian processing by ETI of the steel tubing into EndurAlloy™ merely advanced the value

and improved the condition of the tubing, making it specially hardened and improved for use in

highly corrosive conditions.

       59.     Section 232 duties may only be imposed on steel articles that are classified in a

tariff provision listed in the Annex to Proclamation 9705, and in accordance with Chapter 99,

Note 16(b). Defendant, Lighthizer, the U.S. Trade Representative, is responsible for publishing

and modifying Subchapter III of Chapter 99, HTSUS.

       60.     HTSUS 2018 Revision 2 was published on or around March 29, 2018 (“2018

HTSUS Rev. 2”), without any mention in Subchapter III of Chapter 99 that Section 232 duties will

apply to goods classifiable under chapter 98. HTSUS 2018 Revision 3 was published on or around

April 26, 2018 (“2018 HTSUS Rev. 3”), without any mention in Subchapter III of Chapter 99 that

Section 232 duties will apply to goods classifiable under chapter 98. HTSUS 2018 Revision 4 was

published on or around May 1, 2018 (“2018 HTSUS Rev. 4”), and for the first time mentions in

Subchapter III of Chapter 99 goods classifiable under Chapter 98, providing in relevant part:

       Goods for which entry is claimed under a provision of chapter 98 and which are
       subject to the additional duties prescribed herein shall be eligible for and subject to
       the terms of such provision and applicable U.S. Customs and Border Protection
       (“CBP”) regulations, except that duties under subheading 9802.00.60 shall be
       assessed based upon the full value of the imported article.

U.S. Note 16(a)(i), Subchapter III, Chapter 99, HTSUS.

       61.     The May 1, 2018 modification of the HTSUS in 2018 HTSUS Rev. 4, which

included additional U.S. Note 16(a)(i) to Subchapter III, Chapter 99, HTSUS, was published more

than 90 days after the President’s January 11, 2018 receipt of the Commerce Report, 19 U.S.C.

§ 1862(c)(1)(A)(ii), and more than 15 days after the March 8, 2018 implementation of Section 232

actions. Id. § 1862(c)(1)(B).
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 19 of 31




       62.     CBP acts in a ministerial capacity to assess and collect additional duties of 25% on

certain steel articles pursuant to Proclamation 9705 and Subchapter III of Chapter 99, HTSUS.

       63.     On April 13, 2020, in Cargo Systems Messaging Service (“CSMS”) No. 42355735

(“CSMS No. 42355735”), CBP claimed to issue guidance on products being imported under

provisions of Chapter 98, HTSUS, that also fall under the scope of Section 232. According to CBP,

Section 232 duties will be assessed independently of any Chapter 98 claim. Where a Chapter 98

provision assesses duty on a portion of the article—such as the cost or value of the repairs or

alterations performed abroad, see subheading 9802.00.50, HTSUS—CBP asserts that the Section

232 duties will be assessed on the cost or value of the repairs or alterations.


MAPLE LEAF MARKETING EXCLUSION REQUESTS

       64.     Plaintiff filed five (5) exclusion requests with BIS pursuant to the Interim Final

Rule. See, Request ID Nos. 11928, 11927, 11926, 11924, 11918. These applications were posted

on the Section 232 docket on August 14, 2019.

       65.     On September 25, 2019, Maverick Pipe and Tube filed five (5) objections against

each of Plaintiff’s applications. Maverick Pipe and Tube misrepresented (inappositely) that

“Maverick has capability to manufacture and supply Welded OCTG as a substitute product,” and

that “Maverick manufactures OCTG to the dimensional, chemical, and mechanical specifications

cited in the Exclusion Request.” Maverick does not manufacture OCTG to the dimensional,

chemical, and mechanical specifications of EndurAlloy™ cited in the MLM’s exclusion requests.

       66.     Maverick misrepresented that it manufactures OCTG with metallurgical qualities

identical to EndurAlloy™, including boron between 0.097%-0.102%., and with thicknesses, inside

and outside diameters, and lengths identical to EndurAlloy™. Maverick also incorrectly asserted

that “the requested product [i.e., EndurAlloy™] is a low end or standard product that can be
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20      Page 20 of 31




manufactured by Maverick and other producers in the U.S.” EndurAlloy™ costs up to four time

more, and lasts up to four times longer, than untreated OCTG.

       67.     Plaintiff filed timely rebuttals to each of Maverick’s objections, asserting inter alia

that “Maverick either fails to understand the nature of EndurAlloy™ or has knowingly made

materially false statements to BIS in its objection filing. See e.g., 18 U.S.C. § 1001(a)(2).” MLM

also reiterated that EndurAlloy™ is produced through an advanced surface engineering thermo-

chemical (thermal-diffusion) process based on chemical vapor deposition (“CVD”) principles that

result in a unique product otherwise unavailable in the U.S., and certainly not produced by

Maverick. MLM’s objections also explained that its Canadian vendor, ETI, is the only known

producer in the world capable of boronizing the inner diameter of 28 to 32 foot lengths of J-55

steel tubing in commercial quantities. MLM provided detailed information supporting its

assertions that (i) Maverick’s coated OCTG tubing is not similar to EndurAlloy™; (ii) Maverick

does not currently offer for sale any product similar to EndurAlloy™; and (iii) Maverick could not

produce product similar to EndurAlloy™ without significant research and development and

investment in new facilities. MLM further submitted that “to substantiate its objection, Maverick

should be required to submit to BIS evidence of its production of a product having the

characteristics and properties of EndurAlloy™.”

       68.     Maverick declined to respond to MLM’s request and never filed a surrebuttal or

any other information with the Department.

       69.     BIS issued BIS Decision Documents regarding Exclusion Request Nos. 11918,

11924, and 11926 on June 4, 2020, Compl. Ex. B, determining to grant MLM’s exclusion requests

for seamless EndurAlloy™ tubing, stating that “the product referenced in the above-captioned

exclusion request is not produced in the U.S. in a sufficient and reasonably available amount or of
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20     Page 21 of 31




a satisfactory quality, and recommends granting the request for an exclusion.” The granted

exclusions relate to seamless EndurAlloy™ tubing products of subheading 7304, HTSUS.

       70.     BIS issued BIS Decision Documents regarding Exclusion Request Nos. 11927, and

11928 on June 7, 2020, Compl. Ex. A, determining to deny MLM’s exclusion requests for ERW

EndurAlloy™ tubing, stating that “the product referenced in the above-captioned exclusion

request is produced in the U.S. in a sufficient and reasonably available amount and of a satisfactory

quality, and recommends denying the request for an exclusion.” The denied exclusions relate to

ERW EndurAlloy™ tubing products of subheading 7306, HTSUS.


                                              COUNT I

       71.     Paragraphs 1 through 70 of this Complaint are restated and incorporated by

reference as though fully set forth herein.

       72.     Where the President determines that the “action taken” under 19 U.S.C.

§ 1862(c)(3)(ii) is “the negotiation of an agreement” to limit imports into the U.S., Section 232

expressly prohibits the President from taking action to “adjust imports” at any point before the

180-day period required by the statute has elapsed. 19 U.S.C. § 1862(c)(3)(ii).

       73.     If the President determines that “the action taken” is “the negotiation of an

agreement” to limit imports into the U.S., the President may not take action to “adjust imports”

before 180 days after the date on which the determination to negotiate is made. Id. at

§ 1862(c)(3)(ii).

       74.     Proclamation 9759, which imposed Section 232 duties on steel imports from

Canada, must be set aside to the extent it fails to comply with the requirements of Section 232.

5 U.S.C. §§ 701-706.
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20       Page 22 of 31




       75.      Proclamation 9759 is contrary to law and unauthorized by Section 232 for failure

to comply with mandatory conditions in the statute. Specifically, tariffs on Canada were

proclaimed later than 105 days after the President’s January 11, 2018 receipt of the Secretary’s

report (i.e., by April 26, 2018), contrary to the requirements of Section 232. 19 U.S.C.

§ 1862(c)(1).

       76.      To the extent the President may have elected to pursue negotiations with Canada

pursuant to 19 U.S.C. § 1862(c)(3), the duties were imposed on steel imports from Canada prior

to expiration of the 180-day period provided in the statute, and were ultra vires as in excess of the

President’s statutorily delegated authority. 19 U.S.C. § 1862(c)(3)(ii).

       77.      To the extent the President did not elect to pursue negotiations with Canada

pursuant to 19 U.S.C. § 1862(c)(3), the duties were imposed on steel imports from Canada after

the 90-day period provided in the statute, id. § 1862(c)(1)(A), and after the 15-day period after the

day on which the President determined to take action (i.e., March 8, 2018), id. § 1862(c)(B), and

were ultra vires as in excess of the President’s statutorily delegated authority.


                                              COUNT II

       78.      Paragraphs 1 through 77 of this Complaint are restated and incorporated by

reference as though fully set forth herein.

       79.      On information and belief, the conduct and practice of the U.S. Department of

Commerce, through BIS, when presented with Section 232 factual information in an exclusion

application, and disputed in an objection, rebuttal, and/or surrebuttal process, is inconsistent with

the law, 18 U.S.C. § 1862, the Presidential Proclamations involving Section 232, and with the

standards articulated in the Interim Final Rule, 83 Fed. Reg. 12,106 (March 19, 2018).
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 23 of 31




       80.     BIS Decision Documents regarding ERW tubing (exclusion requests denied) and

seamless tubing (exclusion requests granted) are irreconcilable. BIS Decision Documents

involving EndurAlloy™ ERW tubing, see Exclusion Request Nos. 11927, and 11928 of June 7,

2020, Compl. Ex. A, incorrectly and unlawfully determined that “the product referenced in the

above-captioned exclusion request is produced in the United States in a sufficient and reasonably

available amount and of a satisfactory quality, and recommends denying the request for an

exclusion.” These denial determinations are arbitrary and capricious, constitute an abuse of

discretion, and are not in accordance with the law, in contravention of the APA, 5 U.S.C. § 706(1).

       81.     Meanwhile, BIS Decision Documents involving EndurAlloy™ seamless tubing,

see Exclusion Request Nos. 11918, 11924, 11926, Compl. Ex. B, correctly determined that “the

product referenced in the above-captioned exclusion request is not produced in the United States

in a sufficient and reasonably available amount or of a satisfactory quality, and recommends

granting the request for an exclusion.” BIS’ unavailability determination clearly addresses the

unavailability of boronized J-55 seamless tubing (i.e., EndurAlloy™ seamless tubing) because

standard J-55 seamless tubing (i.e., non-boronized seamless tubing) is available from several U.S.

producers. Therefore, the unavailability determination relates to the super-hardened seamless

tubing product known as EndurAlloy™. It was arbitrary and capricious and an abuse of discretion

for BIS to deny the ERW tubing applications based on the availability of standard J-55 ERW

tubing (i.e., non-boronized ERW tubing) when it granted the seamless tubing applications based

on the unavailability of the super-hardened seamless EndurAlloy™ product.

       82.     Moreover, at all times after May 19, 2019, the President agreed that imports of steel

from Canada do not present a national security threat to the U.S. Effective May 19, 2019, the

President declared that imports of steel from Canada no longer present a national security threat to
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 24 of 31




the U.S.. The period that imports of steel from Canada allegedly “threaten[ed] to impair the

national security” of the U.S., 19 U.S.C. § 1862(c)(1)(A)(ii), was between June 1, 2018 and May

19, 2019. Therefore, the only period when imports of steel from Canada could be subject to Section

232 actions seeking to “adjust imports” is between June 1, 2018 and May 19, 2019.

       83.     Plaintiff’s 2 exclusion requests relating to ERW EndurAlloy™ steel tubing were

denied by BIS on June 7, 2020 even though the President issued Proclamation 9894 more than a

year prior. Proclamation 9894 asserted that steel imports from Canada no longer present a national

security threat to the U.S. The June 7, 2020 BIS determination to deny Plaintiff’s ERW

EndurAlloy™ applications could not serve to “adjust imports” of steel imported from Canada had

already been made (i.e., between June 1, 2018 and May 19, 2019).

       84.     Actions under Section 232, including determinations by the Department to grant or

deny exclusion requests, are only authorized to “adjust imports” so as to “safeguard[] national

security” and are, therefore, for reasons other than the raising of revenue. See 19 U.S.C. § 1862.

       85.     Defendants have no ongoing interest in deterring or adjusting imports of steel from

Canada after May 20, 2019 because steel imports from Canada no longer presented a national

security threat to the U.S.

       86.     There is no justifiable rationale for the Department’s denial of Plaintiff’s 2 ERW

tubing exclusion applications. No denial of Plaintiff’s pending exclusions applications by BIS

could serve to retroactively “adjust imports” already entered by Plaintiff between June 1, 2018 and

May 19, 2019. Where there is no possibility that the actions will “adjust imports” of steel imported

from Canada going forward, the issuance of denial determinations are not lawful actions under

Section 232, and must be set aside.
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 25 of 31




       87.     The Department’s failure to act by granting MLM’s ERW tubing exclusion

applications is arbitrary and capricious, an abuse of discretion, not in accordance with the law, in

excess of statutory authority, and without observance of procedures required by law.


                                              COUNT III

       88.     Paragraphs 1 through 87 of this Complaint are restated and incorporated by

reference as though fully set forth herein.

       89.     Actions taken by the President under Section 232 must seek to “adjust imports” of

articles specifically investigated and identified in the Commerce Report.

       90.     Steel articles exported from the U.S. in a finished condition, and returned to the

U.S. after repair and alteration abroad, and qualifying for classification under subheading

9802.00.50, HTSUS, cannot be subject to Section 232 duties because inter alia imposing

additional duties on re-imported, altered articles cannot possibly serve to “adjust imports” of the

steel articles identified in the Commerce Report and Proclamation 9705.

       91.     The steel articles exported from the U.S. for processing in Canada by ETI into

EndurAlloy™ were, at the time of their U.S. exportation, either U.S.-origin articles of which no

duties were owed or collected, or foreign-origin articles which had already been imported and on

which duties (including any applicable Section 232 duties) were paid at the time of their original

entry into U.S. commerce. The Canadian processing of these steel articles by ETI did not create

new articles of commerce; the EndurAlloy™ tubing remains identifiable upon their re-importation

into the U.S. as the same articles that were previously exported, albeit with an advanced value and

improved condition. See subheading 9802.00.50, HTSUS (“articles returned to the United States

after having been exported to be advanced in value or improved in condition by any process of

manufacture or other means: Other.” (emphasis added)).
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                    Filed 06/24/20      Page 26 of 31




       92.     Imposing Section 232 duties on alterations performed in Canada of goods already

imported into the U.S., duty paid, or of U.S.-origin, does not serve to “adjust imports” of goods

described in Proclamation 9705; see also, U.S. Note 16(b), Subchapter III, Chapter 99, HTSUS.

Therefore, CBP’s assessment of Section 232 duties on articles qualifying for repair and alteration

treatment under subheading 9802.00.50, HTSUS, is contrary to law.

       93.     Altered steel articles are not described in the scope of the Section 232 investigation,

nor in the Commerce Report. The Commerce Report does not identify that the re-importation of

repaired or altered goods abroad poses any threat to U.S. national security. The Commerce Report

does not recommend that the President take any action to adjust or otherwise affect the return of

altered steel articles, regardless of their origin. The Steel Proclamations do not identify

re-importations of altered steel goods as presenting any threat to U.S. national security.

       94.     U.S. Note 16(b) to Subchapter III of Chapter 99, HTSUS does not direct CBP to

assess Section 232 duties on re-importations of altered steel goods. Goods qualifying for repair

and alteration treatment under subheading 9802.00.50, HTSUS, cannot be subject to the additional

Section 232 duties because subheading 9802.00.50, HTSUS, is not identified in U.S. Note 16(b)

to Subchapter III of Chapter 99, HTSUS. Accordingly, goods classified under subheading

9802.0050, HTSUS, cannot be subject to “the rates of duty set forth in heading 9903.80.01.” See

Proclamation 9705.

       95.     The first mention of Chapter 98 goods occurs in Note 16(a) of HTSUS 2018 Rev. 4,

Subchapter III of Chapter 99, which was published on or around May 1, 2018. To the extent this

tariff revision seeks to expand the coverage beyond the products covered in the original

proclamation of March 8, 2018, and was published more than 90 days after the President’s

January 11, 2018 receipt of the Commerce Report, 19 U.S.C. § 1862(c)(1)(A)(ii), and more than
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                     Filed 06/24/20    Page 27 of 31




15 days after the March 8, 2018 implementation of Section 232 actions. Id. § 1862(c)(1)(B), it is

ultra vires as in excess of the President’s statutorily delegated authority.

       96.     The language of Note 16(a) of HTSUS 2018 Rev. 4, Subchapter III, Chapter 99,

directs the assessment of duties on goods classified under Chapter 98 according to the “terms of

such provision and applicable U.S. [CBP] regulations[.]” Goods qualifying for repair and alteration

treatment under subheading 9802.00.50, HTSUS, and altered in a NAFTA member country, are

dutiable according to the terms of the Customs Regulations, including 19 C.F.R. § 181.64, to the

extent Note 16(a)(i) to Subchapter III of Chapter 99, HTSUS, is valid. The terms of subheading

9802.00.50, HTSUS, and 19 C.F.R. § 181.64, do not allow the imposition of additional 25% duties

under Section 232. Rather, the calculation methodology set forth in subheading 9802.00.50,

HTSUS, which relies on 19 C.F.R. § 181.64 to determine the duties applicable on repaired or

altered merchandise upon return to the U.S. applies without application of Section 232 duties.

       97.     CBP’s CSMS No. 42355735 of April 13, 2020 is an unlawful action seeking “to

adjust imports” and attempts to subject goods classifiable under subheading 9802.00.50, HTSUS,

to Section 232 duties of 25% by applying such duties to the cost or value of repairs, alterations, or

processing performed abroad, but this modification is untimely under 19 U.S.C. § 1862(c). CBP

has no independent power to impose such duties and its action is therefore ultra vires agency action

which must be set aside under the APA.

       98.     CBP’s CSMS No. 42355735 of April 13, 2020 conflicts with the language of

subheading 9802.00.50, HTSUS, U.S. Note 3, the North American Free Trade Agreement

(“NAFTA”), CBP regulations, 19 C.F.R. § 181.64, the language of the Proclamation 9705, of

March 15, 2018, and Proclamation 9759 of May 31, 2018, and conflicts with Subchapter III of
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                  Filed 06/24/20     Page 28 of 31




Chapter 99, HTSUS, § 1862(c); and is therefore ultra vires agency action which must be set aside

under the APA.

       99.     CBP’s assessment of Section 232 duties on Plaintiff’s re-imported steel products

which are altered in Canada, a NAFTA member country, are contrary to law and must be set aside.

       100.    Moreover, CSMS No. 42355735 of April 13, 2020 is an unlawful action seeking

“to adjust imports” of re-imported goods classifiable under subheading 9802.00.50, HTSUS, by

applying 25% duties to the cost or value of repairs, alterations, or processing performed abroad,

but this modification is untimely under 19 U.S.C. § 1862(c) and is therefore ultra vires agency

action which must be set aside under the APA.


                                              COUNT IV

       101.    Paragraphs 1 through 100 of this Complaint are restated and incorporated by

reference as though fully set forth herein.

       102.    The Commerce Report is subject to review under the APA, 5 U.S.C. §§ 701-706.

       103.    The Commerce Report is in excess of statutory jurisdiction, authority or limitations

insofar as it was not published in the Federal Register as required by 19 U.S.C. § 1862(b)(3)(B),

and otherwise fails to abide by mandatory requirements of Section 232, and therefore is not in

accordance with law, in violation of the APA.


                                              COUNT V

       104.    Paragraphs 1 through 103 of this Complaint are restated and incorporated by

reference as though fully set forth herein.

       105.    The Constitution's Due Process Clause provides that “[n]o person shall … be

deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 29 of 31




       106.    The Federal Circuit has stated that “an importer may be entitled to procedural due

process regarding the resolution of disputed facts involved in a case of foreign commerce when

the importer faces a deprivation of ‘life, liberty, or property’ by the Federal Government.” NEC

Corp. v. United States, 151 F.3d 1361, 1370 (Fed. Cir. 1998).

       107.    Plaintiff has faced harm from the additional tariffs imposed by Section 232 without

benefit of due process as the result of the issuance of (i) Proclamation 9759 of May 31, 2018,

which is untimely and imposed duties on steel imports from Canada; and (ii) the untimely and

unlawful attempt to expand Section 232 duties to include products eligible for entry under

subheading 9802.00.50, HTSUS, occurring in the May 1, 2018 modification of the HTSUS in 2018

HTSUS Rev. 4, which included additional U.S. Note 16(a)(i) to Subchapter III, Chapter 99,

HTSUS, and CBP’s interpretation thereof in CSMS No. 42355735 of April 13, 2020, which

conflicts with the language of subheading 9802.00.50, HTSUS, US Notes to Subchapter III of

Chapter 99, HTSUS, U.S. Note 3, the North American Free Trade Agreement (“NAFTA”), CBP

regulations, 19 C.F.R. § 181.64, the language of the Proclamation 9705, of March 15, 2018, and

Proclamation 9759 of May 31, 2018.

       108.    In violation of the Constitution, Plaintiff has been deprived of its property without

due process of law.


                                              COUNT VI

       109.    Paragraphs 1 through 108 of this Complaint are restated and incorporated by

reference as though fully set forth herein.

       110.    Section 232 is an unconstitutional delegation of authority from Congress to the

Executive Branch lacking an intelligible principle by which the Executive is to Act, violating the
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5                   Filed 06/24/20     Page 30 of 31




delegation doctrine. The Section 232 duties applied to Plaintiff’s products pursuant to the Steel

Proclamations are an unlawful exercise of legislative authority and are void ab initio.


                DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

       111.    WHEREFORE, Plaintiffs requests the following relief:

                   a. An order requiring Defendants to refund all Section 232 duties paid by

                      Plaintiff, together with interest, found by this Court to have been imposed

                      contrary to law;

                   b. An order remanding to the Department with instructions to grant Plaintiff’s

                      Section 232 applications for exclusion from the Section 232 duties, and

                      ordering the refund of all Section 232 duties paid by Plaintiff, together with

                      interest;

                   c. A declaration that the Commerce Report and the Steel Proclamations are

                      contrary to law and therefore invalid and ordering the refund of all

                      Section 232 duties paid by Plaintiff, together with interest;

                   d. A declaration that the Steel Proclamations and the duties imposed

                      thereunder are unconstitutional because they violate the Fifth Amendment’s

                      due process clause;

                   e. A declaration that the Steel Proclamations and the duties imposed

                      thereunder are an unconstitutional delegation of legislative power to the

                      Executive Branch and ordering the refund of all Section 232 duties paid by

                      Plaintiff, together with interest;

                   f. That the Court award Plaintiffs their costs and a reasonable attorney fee

                      under applicable provisions of law; and
  Case 1:20-cv-00125-CRK-GSK-JAR Document 5               Filed 06/24/20     Page 31 of 31




                g. That the Court grant such other and further relief as may be just and proper.


                                               Respectfully submitted,

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Dated: June 24, 2020
